       Case 8:23-cv-00889-TDC           Document 141         Filed 05/29/25      Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Southern Division)

 LI FEN YAO, as administrator of the Estate
 of Sam Mingsan Chen,

         Plaintiff,
                                                                  Case No. TDC 23-889
         v.

 ROBERT CHEN et al.,

         Defendants.



 ROBERT CHEN et al.,

         Consolidated Plaintiffs,

         v.                                                       Case No. TDC 24-3628

 DAVID CHEN,

         Consolidated Defendant.


               ORDER DIRECTING DAVID CHEN TO PRESERVE EVIDENCE

         Following submission to the Court of a Joint Status Report from the parties dated May

 23, 2025, (ECF 139), pursuant to an Order Relating to Pending Discovery Disputes dated

 April 30, 2025, (ECF 135), it is hereby ORDERED that:

       1.        David Chen will preserve and retain all documents and other materials in his

possession, custody, or control (or in the possession, custody, or control of his attorneys or agents)

that are potentially relevant to the above-captioned actions for the period February 1, 2021, through

April 17, 2025. This includes, but is not limited to:

              a. All instant messaging and online communication services and social media
       Case 8:23-cv-00889-TDC           Document 141        Filed 05/29/25      Page 2 of 2



               and other user generated content related to this dispute including, but not

               limited to, Telegram, Discord, Signal, X (Twitter), Facebook, LinkedIn,

               forums, chat rooms;

            b. All other electronic records including, but not limited to, emails, chat

               records, memoranda, calendars, notes, metadata, GitHub data, and

               blockchain wallets;

            c. All data on smartphones, tablets, and other devices used by David Chen to

               store information, access the internet, and/or communicate electronically;

            d. Information, data, metadata on all network servers, FTP servers, virtual

               private networks, hard drives, cloud or virtual servers;

            e. All IP routers in the possession, custody, or control of David Chen;

            f. All servers in the possession, custody, or control of David Chen;

            g. All smartphone records including sms/text messages and all other forms of

               mobile messages.

       2.      David Chen will cease any automatic deletion of any of the documents subject to

this preservation order, including the use of a bot or script to delete electronic messages, and will

not enable any automatic deletion of documents.

       3.      Any additional exports or collections of discoverable documents in David Chen’s

possession, custody, or control will be performed by someone other than David Chen and at the

direction of, and the guidance of, David Chen’s counsel.

SO ORDERED


Date: May 29, 2025                                                       /s/
                                                           The Honorable Gina L. Simms
                                                           United States Magistrate Judge

                                                 2
